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  The relief described hereinbelow is SO ORDERED.

  Signed October 13, 2021.


                                                       __________________________________
                                                                    Ronald B. King
                                                         Chief United States Bankruptcy Judge




                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE WESTERN DISTRICT OF TEXAS
                                     SAN ANTONIO DIVISION

  IN RE:                                           §
                                                   §
  KRISJENN RANCH, LLC,                             §           CASE NO. 20-50805-RBK
                                                   §
                          DEBTOR                   §           CHAPTER 11
                                                   §           (JOINTLY ADMINISTERED)

                              ORDER DISMISSING OBJECTION AS MOOT

           On this day came on to be considered the Debtor’s Joint Objection to Claims 2, 3, 4, and 5

  in Case 20-51084, Claim 6 in Case 20-50805, and Claim 2 in Case 20-51083 Filed By McLeod Oil,

  LLC and Motion for Determination of Post-Petition Fees and Costs Under 11 U.S.C. § 506(b) (ECF

  No. 162), and it appears to the Court that the Objection should be dismissed as moot.

           It is, therefore, ORDERED, ADJUDGED, AND DECREED that the above-referenced Objection

  is hereby DISMISSED AS MOOT.

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